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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

   HYDRAFLOW INDUSTRIES LIMITED,

           Plaintiff,                                           Civil Action No.: 1:20-cv-03661
   v.
                                                                Judge Sharon Johnson Coleman
   THE PARTNERSHIPS AND UNINCORPORATED
   ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,                     Magistrate Judge Susan E. Cox

           Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                 DEFENDANT
               180                               Love Fashion Living
               211                                   wodexiedian
               360                                  juanaquinstar
               139                                   Baby Baby
               152                                    Tinkling
               335                                  Topochastore
               64                                    Esw_house


DATED: August 28, 2020                               Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     111 West Jackson Boulevard, Suite 1700
                                                     Chicago, Illinois 60604
                                                     Telephone: 312-675-6079
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-03661 Document #: 44 Filed: 09/01/20 Page 2 of 2 PageID #:1303




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 28, 2020 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
